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%AO247(02/08) OrderRegardingMoti
                               onforSentenceReduction
                                                                                             ekx- .o-lc.:..;I< - *
                                U NITED STATES D ISTRICT C OURT                                        ATxwp fke,vA
                                                                                                          gu o
                                                           forthe
                                                  WesternDistrictofVirginia                            MA2 2 2 1
                                                                                                  J LIA c.
                                                                                                 BY:         .
                United StatesofAmerica                       )                                          cp   *
                           v.                                )
               ANTHONY W ENDELLBRIM                          ) CaseNo: 4:06cr00009-004
                                                             ) USM No:19236-057
DateofPreviousJudgment:            01/31/2007                )
(UseDateofLastAmendedJudgmentifApplicable)                   ) Defendant'sAttorney
                 OrderRegardingM otion forSentenceReductionPursuantto18U.S.C.j3582(c)(2)
        UponmotionofII
                     Z thedefendantlN theDirectoroftheBureauofPrisonsCTTTIthecourtunder18U.S.C.
j3582(c)(2)forareductionintheterm ofimprisonmentimposedbasedonaguidelinesentencingrangethathas
subsequently been lowered and maderetroactivebytheUnited StatesSentencing Commission pursuantto28 U.S.C.
j994(u),andhavingconsideredsuchmotion,
IT Is olm Elum thatthe motion is:
        Z'
         ,DENIED. 1.
                   71GRANTED andthedefendant'spreviouslyimposedsentenceofimprisonment(asreflectedin
                         thelmstjudgmentissued)of                         m onthsisreduced to                         .
1. COURT DETERM INATION OF GUIDELINE M NGE (PriortoAnyDepartures)
PreviousOffense Level:                    Amended OffenseLevel:
Crim inalHistory Category:                Crim inalHistory Category:
PreviousGuidelineRange:    to     months  Amended GuidelineRange:                                       to       months
II.SENTENCE RELATW E TO AM ENDED GUIDELINE M NG E
   Thereduced sentenceiswithin thenmended guidelinerange.
   Thepreviousterm ofim prisonmentimposed waslessthantheguidelinerangeapplicable tothedefendantatthetime
   ofsentencing asaresultofadepartureorRule35reduction,and thereduced sentenceiscomparably lessthan the
   amended guideline range.
U1Other(explain):



111. ADDITIONAL COM M ENTS
     Defendant's offense Ieveland resul
                                      ting custody range were produced by application ofthe careeroffender
    guideline,which is unaffected byAmendment782.Therefore,no reduction is authorized. Defendant's Motion to
    AppointCounselandMotiontoRestoreConsti tutionalRights(ECFNo.2141areDENIED.Therestorationof
    Defendant'sci
                vilrightsi
                         samatterofstateIaw.See Ri chardsonv.Ramirez,418U.S.24,54 (1974).
Exceptasprovidedabove,al1provisionsofthejudgmentdated 01/31/2007 shallremainineffect.
IT IS SO ORDERED .

OrderD ate:               - -. - .                                    ï              iz-Aa--v
                                                                                  Judge'ssignature

EffectiveDate:                                                      Hon.Jackson L.Kiser,Seni
                                                                                           orU.S.DistrictJudge
                  (ifdifferentfrom orderdate)                                    Printednameandtitle
